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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MINNESOTA



                  ARRAIGNMENT AND PLEA MINUTES

UNITED STATES OF AMERICA,                     )                   COURTROOM MINUTES - CRIMINAL
                                              )                   BEFORE: Nancy E. Brasel
                         Plaintiff,           )                           U.S. District Judge
                                              )
 v.                                           )    Case No:             20-cr-129 (2) (NEB/HB)
                                              )    Date:                October 26, 2020
McKenzy Ann DeGidio Dunn,                     )    Court Reporter:      Erin Drost
                                              )    Courthouse:          St. Paul
                                              )    Courtroom:           Courtroom 3A
                         Defendant.           )    Time Commenced:      1:00 p.m.
                                              )    Time Concluded:      1:30 p.m.
                                              )    Time in Court:       30 minutes

APPEARANCES:
 Plaintiff:     Joseph Teirab, Assistant US Attorney
 Defendant:     Shannon Elkins, Assistant Federal Defender

PROCEEDINGS:
 ARRAIGNMENT:
   Waived Reading of Charges :     Advised of Rights 9 Waiver of Indictment 9
on   Superseding Indictment : Information 9 Complaint 9

CHANGE OF PLEA HEARING:.
  PLEA:
     Guilty as to Count 2s of the Superseding Indictment. (Straight Plea, no plea agreement)
     Presentence Investigation and Report requested.
     Defendant is released on bond conditions.

Date: October 26, 2020                                                                              s/KW
                                                      Signature of Courtroom Deputy to Judge Nancy E. Brasel
